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 6
 7
 8                        UNITED STATES DISTRICT COURT
 9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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11
       HOUSETON et. al                        CASE NO.: 23-CV-06887 SVW
12
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14                          Plaintiffs,       NOTICE OF SETTLEMENT
             vs.
15
16     COUNTY OF LOS ANGELES,
       DEP. TREVOR KIRK et. al.,
17
       individually and in their official
18     capacities and Does 1-10, inclusive
19
20
                      Defendants.
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23    ///
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                                    NOTICE OF SETTLEMENT

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                                           #:3488



 1          TO THE HONORABLE COURT AND TO ALL PARTIES &
 2    COUNSEL:
 3          PLEASE TAKE NOTICE in accordance with Local Rule 40-2 that all
 4    Plaintiffs and all Defendants have reached a settlement of this case in its entirety.
 5    This settlement is contingent upon the approval of the Contract Cities Claims
 6    Board and the Los Angeles County Board of Supervisors.
 7          Upon finalization of the settlement, all Defendants will be dismissed with
 8    prejudice.
 9                                            LAW OFFICES OF CAREE HARPER
10
                                              /s/ Caree Harper
11                                            Caree Harper
12                                            Attorney for Plaintiffs
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                                    NOTICE OF SETTLEMENT

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